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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No. 1:22-CR-334-JEB

v.
MIKHAIL SLYE,

Defendant.

DEFENDANT’S MIKHAIL SLYE SENTENCING MEMORANDUM

COMES NOW the Defendant, Mikhail Slye, by and through counsel, Michael T. van der
Veen, hereby submits this Sentencing Memorandum for this Honorable Court’s consideration prior
to and during the sentencing of Defendant and in support thereof avers as follows:

1. On or about January 3, 2023, Defendant, Mikhail Slye, plead guilty to one (1) count of
Assaulting, Resisting, or Impeding Certain Officers, in violation of 18. U.S.C. § 111(a)(1) before
the Honorable James E. Boasberg.

2. Sentencing in this matter is currently scheduled for June 15, 2023 at 11:00 A.M.

3. When determining the appropriate sentence this Court is not required to impose the
recommended guideline range; rather, this Court must impose “a sentence sufficient, but not
greater than necessary” to comply with 18 U.S.C. § 3553. The recommended guideline range is
only one of the factors that a Court should consider when imposing a sentence. Gall v. United
States, 552 U.S. 38, 59 (2007). See also Kimborough v. United States, 552 U.S. 85, 90-91 (2007);
United States v. Booker, 543 U.S. 220, 245 (2005). The United States Supreme Court further

instructed the district courts to “impose a sentence sufficient, but not greater than necessary” to
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accomplish the goals of sentencing” and to consider the factors laid out in 18 U.S.C. § 3553.
Kimborough, 552 U.S. at 101 (citing 18 U.S.C. § 3553(a)).
4, Although all federal crimes are serious, “the punishment should fit the offender and
not merely the crime.” Pepper v. United States, 131 S. Ct. 1229, 1240 (2011).
I. SENTENCING GUIDELINES

5. The advisory sentencing guidelines as follows:

Base; U.S.S.G. §2A2.2(a): 14
Dangerous Weapon; U.S.S.G. §2A2.2(b)(2)(B): +4
Bodily Injury; U.S.S.G. §2A2.2(b)(3): +3
Official Victim; U.S.S.G. §3A1.2: +6
Acceptance of responsibility; §3E1.1(a): -2
Acceptance of responsibility-timely notification; §3E1.1(b): -1
TOTAL OFFENSE LEVEL: 24

6. Mr. Slye is in Criminal History Category I. The guideline for an offense level 24 with a
Criminal History Category I is an advisory sentencing range of 51-63 months imprisonment.
Il. SENTENCING GUIDELINES
7. When determining the appropriate sentence of Mr. Slye, this Honorable Court must

consider the factors in 18 U.S.C. § 3553(a), including:

1) the nature and circumstances of the offense and the history and characteristics of
Mr. Slye;
2) the need for the sentence to reflect the seriousness of the offense, promote respect

for the law, provide just punishment for the offense, afford adequate deterrence to
criminal conduct, protect the public from further crimes of the defendant and to
provide the defendant with the needed educational or vocational training, medical
care or other correctional treatment in the most effective manner;

3) the kinds of sentences available;
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4) the need to provide restitution to any victims of the offense;

5) the pertinent policy statements issued by the Sentencing Commission;

6) the need to avoid unwarranted sentencing disparities; and

7) the sentencing ranges promulgated by the Sentencing Commission and Guidelines.

18 U.S.C. § 3553(a)(1)(2)(3)(4)(5)(6)(7); Booker, 543 U.S. at 245.
A. Mr. Slye’s History and Characteristics

8. Mr. Slye is a thirty-three (33) year old man.

9. Mr. Slye has a long-time partner, Christina Slye, who is also thirty-three (33) years old.

10. Mr. Slye is father to three (3) children: (1) Caden Slye, 13; (2) Bryson Slye, 9; and
(3) Wyatt Slyee, 3.

10. Mr. Slye’s biological mother, Jennifer Smith, is alive and in good health and owns a
semi-conductor refurbishment business. Mr. Slye’s biological father, Darrell Ainsworth, is alive
and is a retired military nurse. Mr. Slye and his biological father have no contact. Mr. Slye’s
stepfather, Rolf Slye, passed away in 2022 as a result of complications from kidney surgery. Mr.
Slye’s additional stepfather, Stephen Smith, lives with his mother in Liberty Hill, Texas, and the
two maintain a good relationship.

11. Mr. Slye has six (6) siblings: (1) Caleb Slye, 31, Mr. Slye’s maternal half-brother; (2)
Courtney Smith, 23, Mr. Slye’s maternal half-sister; (3) Daniela Smith, 19, Mr. Slye’s adopted
sister; and (4) Sonya Smith, 19, Mr. Slye’s adopted sister; (5) Travis Smith, 19, Mr. Smith’s
stepbrother, all of whom are alive, healthy and maintain a good relationship with Mr. Slye; and (6)
Mr. Slye has an additional stepbrother, Austyn Smith, 32, who Mr. Slye does not have contact

with.
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12. Additional information pertaining to Mr. Slye’s upbringing is provided in the
Mitigation Supplement, attached hereto as “Exhibit A.”

13. Mr. Slye has taken responsibility for his actions, pled guilty to the Superseding
Indictment, and cooperated with the Government to the best of his abilities in all manners
requested.

B. Nature of the Offense

14. The crime to which Mr. Slye has pled guilty is a serious offense and he has taken full
responsibility for it. Mr. Slye pled guilty to assaulting, resisting, or impeding certain officers or
employees in violation of 18 U.S.C. § 111(a).

15. By way of background, Mr. Slye knowingly and intentionally tripped United States
Capitol Police Officer D.T. with a bike rack, while D.T. was engaged in the performance of his
official duties.

C. Need for the Sentence to Reflect the Seriousness of the Offense, Promote Respect for the
Law, Provide Just Punishment for the Offense, Afford Adequate Deterrence to Criminal
Conduct, Protect the Public from Further Crimes of the Defendant and to Provide the
Defendant with the Needed Educational or Vocational Training, Medical Care in the Most
Effective Manner.

16. The sentence imposed must reflect the seriousness of the crimes committed. Given the
severity of even the minimum sentence in this matter, the Court can be assured that goal will be
accomplished.

17. Mr. Slye understands the severity of the crime to which he pled guilty. He has
extensively self-examined his actions and gone over the acts and both their seen and unforeseen
consequences.

18. Mr. Slye has pled guilty, knowing the severe consequences his plea could have during

sentencing. Despite the grave consequences permitted under the law, Mr. Slye owned up to his
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wrongdoing, cooperated with the Government during its investigation, and pled guilty in a timely
manner. He looks to the mercy of this Honorable Court to provide a just sentence given the facts
described above.

19. Mr. Slye has accepted responsibility and now will face sentencing in federal court
assuring he will be given plenty of time to reflect on his wrong choices. The consequences he has
brought upon him are severe, punishing, and should stand to be an ultimate deterrent for any future
offenses.

20. Finally, Mr. Slye is not a danger to the community at large. Mr. Slye has many loved
ones who have been and are currently supporting him through this ordeal and will continue to do
so throughout his sentence and thereafter. This plea will potentially take Mr. Slye away from his
family, including his parents, his siblings, his partner, and children, all of whom absolutely have
an effect on his day-to-day life. This Honorable Court should recognize this fact as well as those
set forth in “Exhibit A,” such as: (1) Mr. Slye’s difficult upbringing; (2) Mr. Slye’s learning
disabilities; and (3) Mr. Slye’s significant medical history and neurological issues, namely his
epilepsy, as documented in “Exhibit B”. These facts justify a departure from the standard range,
and without diminishing the gravity of the offense of Assaulting, Resisting, or Impeding Certain
Officers, requires no more than home confinement and a period of supervised release to impart the
lesson the penal system has sought to reach.

21. Furthermore, this Honorable Court should find that Mr. Slye’s devotion to his
livelihood and family, as demonstrated in the photographs attached hereto as “Exhibit C,” coupled
with the character letters provided by friends, family and loved ones, attached hereto as “Exhibit

D”, justify departure from this standard.
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D. The Kinds of Sentences of Available

22. This Court has complete discretion in determining the appropriate sentence. In the plea,
the Government has included facts and circumstances lowering the guidelines in this case Le.
USSG § 3E1.1(a) and (b), including acceptance of responsibility and acceptance of responsibility
with a timely notification of intent to plead guilty.
E. The Need to Provide Restitution to Any Victims of the Offense

23. Mr. Slye acknowledges the specific victim in this case, as well as the countless victims
who were affected on January 6, 2021. Mr. Slye is incredibly apologetic and remorseful for the
consequences of his own actions. While Mr. Slye understands there is no monetary amount that
can ever make Officer D.T. whole, Mr. Slye acknowledges there is a monetary amount that can
assist in rebuilding the Capitol.

24. Mr. Slye is aware of the necessary restitution that he is required to pay as set forth in
the Presentence Report. Accordingly, Mr. Slye requests that this Honorable Court sentence him to

pay the restitution amount of $2,000, as set forth is the Plea Agreement.
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II. CONCLUSION
Considering the foregoing factors, Mr. Slye respectfully requests this Honorable Court to
vary from the applicable guideline range and sentence Mr. Slye to a period of home confinement,

followed by supervised release for any period of time that this Court deems appropriate.

Respectfully Submitted,

Date: June 8, 2023 /s/ Michael T. van der Veen
Michael T. van der Veen

Attorney for Defendant

Pennsylvania Bar No. 75616

van der Veen, Hartshorn, and Levin

1219 Spruce Street

Philadelphia, PA 19107

P: (215) 546-1000

F: (215) 546-8529

mtv@mtvlaw.com
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 8" day of June, 2023 a copy of the foregoing Unopposed
Motion to Modify Conditions of Release was electronically filed with the Clerk of the United States

District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government: Andrew J. Tessman
300 Virginia Street East Suite 4000

Charleston, WV 25301
(304) 340-2234
andrew.tessman@usdoj.gov

/s/ Michael T. van der Veen
Michael T. van der Veen, Esq.
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EXHIBIT C
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Etiana-Michele Guzman
2601 N. Austin Ave. Apt. 4106
Georgetown, TX 78626

January 29, 2023
RE: Mr. Mikhail Slye

Honorable James E. Boasberg,

My name is Etiana-Michele Guzman and | am the Production Manager and Graphic Designer at
Two Brand It, a business located in Liberty Hill, Texas. I am writing this letter on behalf of my friend,
Mikhail Slye.

I have known Mikhail and his family for about two years now and I am forever thankful our paths
have crossed. Over the past couple years, I have been able to see Mikhail in many roles such as friend,
brother, son, husband and father. It is in all of these roles that Mikhail has shown an unwavering
dedication to those he loves. Mikhail has been steadfast in his pursuit for safety, security, provision, and
care for his family. He is ready at a moment's notice to show up and take action on behalf of his people. I
am thankful that Mikhail’s gift for serving others aren’t just limited to his family, but to those that
surround them as well.

From the moment I met Mikhail, he was quick to welcome me in. Without any hesitation,
Mikhail’s kindness, strength, and empathy were offered to me without any expectation. The only
requirement for him has been to show up, and once you do, you know you are surrounded by someone
who will always be there for you. Mikhail is someone who is reliable and dedicated to anyone who
crosses his path and | am fortunate to be one of them.

Although Mikhail’s actions have caused distress, I know deeply that this was never his intention.
Mikhail is many things, passionate being one of them, but he is also able to expiate his choices. Please
understand, during your jurisdiction, that Mikhail is not just the choice he made that day, but he is the
sum of his roles and what he brings to the table as a father, provider, friend, and caregiver.

Thank you so much for your time and consideration.
Etiana-Michele Guzman

512-796-4286
etiana.guzman@gmail.com
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Ana Paula De Castro Duarte
281 Ranch Road 1869
Liberty Hill, Texas, 78642

January 25, 2023
RE: Mr. Mikhail Slye

To The Honorable James E. Boasberg,

My name is Ana Paula Duarte, and I'm a professional counseling master's student at St.
Edwards University, located in Austin, TX. I’m writing this letter on behalf of my brother
Mikhail Slye. I came to meet Mikhail on August 16, 2014, the day I arrived in The United States
as an exchange student. Immediately, Mikhail welcomed me with an open heart by making me
feel like a part of the family. Even though I was a shy 15-year-old who barely knew English at
the time, he made numerous efforts to build a sibling-like relationship with me. In fact, one of
my most memorable recollections was him taking me to school the week I arrived to help me get
situated so that I would not feel lost on my first day of classes.

Since then, my relationship with Mikhail has grown stronger. Regardless of him not
being my biological brother, I care for and love him as if he was. Mikhail is someone that I
admire deeply for his empathy, strength, honesty, kindness, and especially for the love and
dedication he shows towards his children. In the past eight years I have known him, he has not
been anything but a fantastic dad to my nephews; he has always been there for them physically
and emotionally.

I comprehend that Mikhail's action during the breach of the Capitol has caused harm, but
as someone who knows him personally, I'm sure he never had the intention of causing the
distress he did. I further understand he recognizes his mistake. Thus, I hope you take into
consideration that he is a life-long learner who is willing to acknowledge his errors and better
himself as a person and citizen. Therefore, as you made your jurisdiction, I appeal that you

consider him a loving brother, father, son, and husband.

Sincerely,

Ana Duarte
737-900-3337
adecastr@stedwards.edu
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January 31st, 2023

Re: Mikhail Slye

Honorable James E. Boasberg,

My name is Bonnie Thiemens and | am a Pastor and | am self employed. | have 6 children,
which are adults now, that grew up with Mihail and his siblings. | have known Mr. Mikhail Slye
all of his life. He is my nephew.

Mikhail is an amazing father to his three boys and a wonderful husband to his wife. He is a hard
worker who runs his own farm. Mikhail has a wonderful caring and gentle personality, who is
easy to get along with and everyone enjoys being around him. He is always willing to help
those in need. Mikhail has a positive influence on those around him. He is a young man that |
have had the privilege to watch grow up to the adult that he is today. | am very proud and hon-
ored to call him my nephew.

Sincerely,

Bonnie Thiemens
bonniethiemens@gqmail.com
480 Fort Hill Rd.

Gorham, Me 04038
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Daniela Smith
2017 Meadow View Dr.
San Marcos Texas 78666

January 31, 2023

RE: Mr. Mikhail Slye

To The Honorable James E. Boasberg.

My name is Daniela Smith | am a 19-year-old female. | am currently enrolled in Augusta
Escoffier Culinary School , in Austin Texas. | am one of Mikhail Slye's sisters. Mikhail is loving,
caring, kind and an amazing brother, son, husband, and father.

Mikhail and | would always have fun together no matter what we were doing. A few years ago
we were helping another brother clear the trees in his 10 acres property in the middle of July.
July in Texas is hot. Even though it was not his house, Mikhail not only helped but got his wife
and kids to help also.. Our dad always says many hands make light work and Mikhail is always
there with a helping hand.

Two years ago when Mikhail and his family were selling their house and moving to a farm there
was an Ice storm in Texas. Mikhail was in the middle of packing up his house to move but
stopped to help our parents and the neighbors with all the trees that broke and fell down. There
were so many broken trees, not only on our parents property but the neighbors. Mikhail spent
days in the freezing cold moving things that were broken from the storm and fixing busted pipes.
Mikhail is a very thoughtful person all the time.

| am so happy to be a part of this family and to have Mikhail as my older brother.
Thank you for letting me tell you about my big brother.

Daniela Smith
512-626-0170
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To Honorable James E. Boasberg,

My name is Callie Turner. I have known Mikhail Slye for 15 years. His wife and I became best friends
in high school.

I can say without a doubt that Mr. Slye is a person of very good moral character. He has shown
great remorse over this situation, which was an unusual act of character for him. It has not only
affected him, but his whole family. Mikhail is all about history. It was not Mr. Slye's intentions to go
up there to commit any crimes.

IT know Mr. Slye as a great husband, but most importantly, a great father. He is always teaching his
three children things that they need to know to succeed in life. He recently moved across the
country to open up a family farm and has done a great job in doing so. He spends time teaching his
boys how to care for their animals among other chores on their farm. When I visited Pennsylvania a
few months ago, he taught my children how to sled. He is definitely a family man, and it's evident
he spends a good deal of time with his family. His youngest child cries when his daddy walks out of

the room.

I am genuinely concerned about the future of Mr. Slye and the effect it will have on him and his
three boys. I hope that you will give him an opportunity for a second chance while you make a fair
decision.

Sincerely,
Callie Turner
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January 24, 2023 Patricia Fryer
704 Pecan Pass
Cedar Park, TX 78613

Honorable James E Boasberg,

My name is Patricia Fryer and | am writing on behalf of Mikhail Slye, who is my niece’s
husband. | am retired and living in Cedar Park, TX, just outside of Austin. | met Mikhail when
he was around 23 while he was dating my niece, Christina.

Mikhail has always been kind and respectful to me in all the years | have known him. He loves
God, his country and his family with all his heart. | have watched him mature and become
more responsible through the years, working hard and providing for his family. | know that he
has been charged with some violations of the law in Washington, DC, but, | personally have
never known him to be violent or have a provocative nature. He has always been mild-
mannered and soft spoken around me and our family. | do not doubt that he has learned
valuable life lessons from his unfortunate experience in Washington, DC, and that he will strive
more than ever to be a responsible patriot, husband and father

Honorable Boasberg, | pray the courts will have mercy and extend grace to Mikhail.

Thank you,
Patricia Fryer
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Courtney Smith

4000 Fairfax Dr. Apt 1605

Arlington VA 22203
cls77267@marymount.edu
(512)-568-5128

Dear Honorable James E. Boasberg,

My name is Courtney Smith, and | am 23 years old. | am currently getting my masters for
Forensic and Legal Psychology at Marymount University in Arlington Virginia. | am Mikhail Slye’s
baby sister and godmother to his three sweet and beautiful boys. As such | have known Mikhail
my entire life.

Mikhail was 9 years old when | was born, and | immediately gained a protector. When |
was 3 years old, he was 12, teaching me how to swim. When | was 5, all | wanted was for my big
brother to read mea bedtime story, and at 14, he never let me down. At the age of 7 | was
trying to learn how to ride a bike, and Mikhail was 16, helping me overcome my fears. | decided
| wanted to show a pig at the age of 9; however, when | quickly learned that it wasn’t
something | enjoyed, he was 18 and teaching me it’s okay to have differences from those we
love. | became an aunt at the age of 11 when Mikhail became a dad at 20, and he patiently
showed me how to hold his baby boy. When | was 13, | did every extracurricular you could
imagine, but he was 22 and was always there to cheer me on. | was 15, and Mik was 24 helping
me fundraise so | could go to Australia for cross country. | graduated high school at 18, and he
was 27, telling me how proud he was. When | was 20, Mikhail was 29 deciding to move his
family to Pennsylvania and telling me that no matter if we lived down the road or across the
country, he was always my big brother. At 22, Mikhail was 31, and | got to tell him that | got

into my dream master’s program and soon would only be five hours away from him. Now I’m

23, and he’s 33, and he's still, as he's always been, the best big brother.
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Courtney Smith
4000 Fairfax Dr. Apt 1605
Arlington VA 22203
cls77267@marymount.edu
(512)-568-5128
Growing up, | had the opportunity to watch Mikhail go through life and grow into the

fantastic dad, husband, son, and brother he is today. Thank you for taking the time to listen to

my life story with Mikhail Slye.

Thank you,

Courtney Smith
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January 31, 2023
Re: Mikhail Slye:
The Honorable James E. Boasberg

My name is Paul Thiemens. I am a Pastor. I am also Milkhail’s uncle. I have known
Mikhail all of his life. It was a privilege to watch him grow into a kind, polite, and
thoughtful young man. My wife and I married him to his wife Christina and fully
blessed his marriage and family. I have watched him perform admirably as the oldest
sibling in his family. I have seen him encourage his brothers, de-escalate the tense
situation, and negotiate a peaceful resolution. Mikhail is loving and even nurturing. He
is a good caregiver. He focuses on other people's needs. He is great with his children
and is very gentle with them. He also knows how to take responsibility and learn from
his mistakes. His many life experiences have been instrumental in helping him to
improve himself, and discover what he is skilled at and wants to do with his life.

In Washington D.C., he put himself in a situation that was out of character for him. I’m
not sure of the thought process going on that led him to be there on that day and to act
as he did. Nonetheless, I was surprised because it didn't reflect the person we know he
can be. I'm confident that his behavior at this one-time event will not be repeated. I
urge you to allow him the opportunity to remain active as the father of his family, the
oldest sibling in his extended family, and the oldest cousin.

Sincerely yours,

Pastor Paul Thiemens

PASTOR PAUL THIEMENS 480 FORT HILL ROAD, GORHAM MAINE, 04038
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Megan Weber

129 Presidential Path
Liberty Hill, TX 78642
(512) 914-7578
Jwmwwed@gmail.com

31st January 2023

Honorable James E. Boasberg

Dear Honorable James E. Boasberg,

My name is Megan Weber, and | have been a close family friend to the
Smith’s/Slye’s since | was 5 years old. | went to school with Mikhail’s younger
sister Courtney from Kindergarten all the way through graduating at Texas
State University in 2021. | now work in retail as a Sales Manager. Through
growing up with Courntey | have had the pleasure of watching Mikhail develop
as well.

| truly got to see who Mikhail was through watching him raise his now three
boys. My favorite memories of Mikhail and his family were pool days at either
his parents house or my Nannie and Papa’s. Those hot summer Texas days
allowed everyone involved to take a pause from whatever was going on in
their life and concentrate on spending quality time with the people that meant
the most to them. I think through everything Mikhail has gone through he is
now the man that everyone saw on those days 24/7. This can be seen by
looking at the amazing relationship he has built with his wife, Christina. Or
through understanding the courage it took him to pack up and move across
the country to Pennsylvania and start a whole new career solely based on the
fact that he Knew that’s what was best for his family. Through this move they
have faced many roadblocks but through these challenges Mikhail has stayed
positive and learned along the way.

| have always seen Mikhail as a very passionate person that runs with
whatever he sets his mind to. This is shown by the drastic measures he took to
be in this current situation. Although | don’t fully understand it from his
perspective and don’t know exactly what drove him to do the actions he is
being charged for. | Know that at Mikhail's core he is a kind, thoughtful
individual that would never intentionally cause harm.

| grew up with 2 brothers and witnessed in both cases a period of time that
they went through that really defined their character in the end. | believe that
everyone has a turning point in their life where they get to decide whether
they are going to learn from their mistakes or be defined by their faults. | trust
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that this is Mikhail's defining point and that he has truly learned from his faults.
When given the opportunity Mikhail rises to the occasion and beats the odds. |
will conclude this by saying that yes Mikhail is a passion driven individual but
that he now has a better perception of what he is genuinely passionate about,
his family and their well being.

Sincerely,

Megan Weber
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Dear Honorable James E. Boasberg,

My name is Amber Squires and I have lived in Texas my entire life. After graduating college, I
started working in the mortgage industry and have been in this career field for 12+ years. I
currently work at Security National Mortgage Company dba MyMorgo as a Loan Officer
Assistant. I love spending time with my family and at my church serving in the youth ministry.

I have known Mikhail about 11 or 12 years. He married my cousin, Christina Slye, in 2013.
Mikhail has always been thoughtful and kind towards me and to others. He has always taken
great care of his kids and his wife, which is admirable. Mikhail has always provided for his
family and maintained good jobs over the years. He is reliable and a hard worker. I have never
seen him act in any way that was rude, disrespectful or harmful.

While I understand Mikhail is being charged with a violation of the law, I do believe his
character is good, trustworthy, honest, and respectable. I believe in fair and just treatment in the
courtroom and I trust the truth will prevail in his case.

Sincerely,

Amber Squires

9737 Great Hills Trail Ste 200 & 220, Austin TX 78759
1/31/2023
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Travis Smith

322 Latonia Ave
Meadville, PA 16335
January 31,2023

Honorable James E. Boasberg
District judge

U. S. District Court

333 Constitution Ave

N. W. Washington D.C. 20001

Dear Honorable James E. Boasberg

My name is Travis Smith. I am a 32-year-old male. I work in HVAC and plumbing in Meadville
Pennsylvania. Mikhail Slye is my brother. Our parents got married when we were 4 years old. So, I
have known him almost 30 years.

Growing up Mikhail and I were close basically the same age going to the same grade each year
since we were kids. I remember switching schools and moving into the house Mikhail and I shared
with our parents. Moving school was a big changed but since I had my brother in the same grade it
was much easier. We hung out with just about same group of friends throughout school. It would
have been a lot harder adjusting to a new atmosphere but having him there helped. Since then, we
have always remained on close and do many things together. We are about as close to best friends
as you can get being originally being stepbrothers. If I have ever needed him, he would find a way
to help me out. I Talk about just about anything with him and I know if he needed me, I would be
there for him. I have always been able to count on him if I was going through something. He is
always there to listen. Mikhail is a very honest person with a big heart who is always willing to be a
friend to everyone. Mikhail is a great friend, father, and husband.

Travis Smith
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January 30°, 2023

Dear Honorable James E. Boasberg

My name is Stephen E. Smith, and | am a small business owner, veteran, father of 7, and step-
father to Mikhail E. Slye. | have raised Mikhail, along with my wife of 27 years, Jennifer, since
he was 4 years old.

Mikhail had a rather rough time as a school aged boy, because he has ADD, ADHD, Dyslexia and
Dysgraphia. Learning for him was difficult, slow-going, and always frustrating. He was very
bright and inquisitive, but could not demonstrate that to his teachers effectively until his
diagnosis was revealed. As a way of coping, he developed a very good memory, incredible
listening skills, and a passion for learning. When he received his first iPhone, it was like an
entire world was open to him. He could now have text dictated to him, and he had an
enormous amount of web sites to explore. He was extremely curious about history, political
events, and current events. As he grew older into his teens, he did much better in school and
entered into the FFA, where he learned to raise and show pigs, and livestock. | am sure that
opportunity laid the groundwork for his profession now: Farmer.

Mikhail currently is the father of three wonderful boys who follow him around all day during
the summer months doing chores, which include feeding, grooming, and health checks of his
animals. He is always patient with them and spends as much time as he can teaching them the
skills, they will need should they choose to follow in their fathers’ footsteps. He makes me
incredibly proud that he found his passion in life, and is able to make a living for his family from
it. In rural Pennsylvania, near in area | myself grew up, is where he chose to farm. My Aunts,
who are all in their late stages of life, count on him to help them with all kinds of chores and
fixer-upper items, which he does immediately. Having this need is what has provided him with
purpose and an even greater determination to help others. He is always so selfless with his
time, even when it means his day will be much longer.

As a father, | know the amount of hard work it takes to raise a family, and | could not be
prouder of the work he puts into his marriage and his family. This is the Mikhail | know and
love and wanted you to know as well. | would humbly ask when determining how you will
affect his life going forward that you consider his actions based on the 33 years of hard work he
has put into his, and his family’s life. | believe with all my heart that the peer pressure, crowd
mentality, and loss of self-control contributed to the decisions he made. He is a much better
person than what he represented by his actions, and is still a viable, useful, needed member of
society.

Sincerely,

Stephen E. Smith
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Jennifer L Smith
281 Ranch Road 1869
Liberty Hill TX 78642

Honorable James E. Boasberg
District Judge

U.S. District Court

N.W., Washington D.C 20001

Dear Honorable James E Boasberg:

My name is Jennifer Smith and | am a 53-year-old female. | am a retail store small business owner. | am
Mikhail’s mother and | have known Mikhail his whole life. Mikhail lived with me his whole childhood and
then about 10 minutes from me up until two years ago. When the housing market was good Mikhail
was able to sell his house to buy a farm for his family to raise pigs in Meadville Pennsylvania where his
step father grew up.

Mikhail has always been a very caring, loving, honest, protective man. Mikhail has always loved animals.
In high school, Mikhail would help out the younger kids in FFA with their animals at the school pig barn
and as an adult he goes to his Great Aunt’s house now to help her with her pigs and other animals
because she is in her 80’s. Mikhail has over 100 animals himself and has been working very hard at a
family farm. Which has giving him the ability to show his boys his love of animals and hard

work. Mikhail biggest love and commitment is to his wife and Boys ages 13,9,3.

Mikhail has seizures and takes medication for these seizures but this does not keep him from having
them. They are not small seizures. Mikhail will experience convulsions, muscle jerking, stiffening, his jaw
locks up and needs to be put back in to place. He also has no idea at the time what is happening. In this
confusion he gets upset because during a seizure he cannot talk when his jaw is out of place and its
scares him because his mind does not know what is happening. Mikhail has fallen and hurt himself
during seizures.

| understand the depth of Mikhail’s charges and being a part of January 6" . | know Mikhail is very
remorseful and regrets his actions on that day. Mikhail is and has always been a big history person. |
know he wanted to see with his own eyes apart of history. | also know he would not have gone if he
thought this would have happed and he would never do something that would put his family in jeopardy

again.

Thank you for your time and for giving me the opportunity to express my thoughts, as you are
considering Mikhail’s sentence.

Sincerely,

Jennifer L Smith
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Ms Belinda Beard

2510 Helton Ct

Colorado Springs, Co 80916
(719)684-5543
blackbeard2510@gmail.com

January 27, 2023

To The Honorable James E. Boasberg
District Court for The District of Columbia

RE: Sentencing of Mikhail E. Slye, Case No. 1:22-cr-334

Dear Judge,
| am writing this letter on behalf of Mr Mikhail Slye, 33 of Meadville Pennsylvania. | have known

Mikhail Slye for 33 years (to the date, today is his birthday), he is my Grandson. | have lived
with Mikhail Slye in his parents home for several years . | have also lived in his home with
Mikhail and his family for a time as well.

Mikhail Slye has always been a very kind-hearted and caring person, from a little boy to the
man he is today. | have witnessed numerous occasions of Mikhail’s kindness and generosity
for others and his willingness to help anyone including an elderly stranger on the street. | have
observed his support and loyalty he has for his family and siblings; his interactions with his
brothers and his younger sisters as well as the exchange students that have come to be part of
this family. But one of his greatest attribute is his commitment to his three boys: Caden, 13,
Bryson, 9, and Wyatt, 3. He has maintained employment and provided his family with a home
and transportation and has been committed to his family’s welfare. And then, just a few years
ago, he was able to move his family to Pennsylvania and start a pig farm. Mikhail Slye is not a
‘Proud Boy’ or associated to any of these groups that promoted the attack on our capitol, but
he clearly participated in the mob mentality. He is taking responsibility for his actions, and |
know Mikhail is remorseful and regrets the choices he made that day that led him to this point.
| understand the severity and possibly consequences, and | hope you will take into
consideration his history, his plead taking responsibility for his actions and his three boys when
you are making your sentencing decision. | am confident that he will again become a
productive member of society and have more to contribute with wiser choices once these
matters are behind him.

Thank you for the opportunity to express my thoughts, as you consider the appropriate
sentence for Mikhail Slye. | am available to confirm the facts in this letter preferably by phone.

Sincerely,
Belinda Beard
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Honorable James E. Boasberg

Sir:

My name is Timothy Schevers. I am a custom home builder in Austin, Texas. which is how I met
Mikhail. I was contracted by Mikhail’s

Parents in 2015 to build an addition to their property in Liberty Hill, Texas.

He was married to his current wife Christine, and was very much involved with the raising of his
two sons. Sometime after the project was completed, Mikhail came to work for my company.
Initially as a laborer, but quickly learned to complete many demanding task. At the time, my son
also worked for the company. He and Mikhail became a production team. Completing hardwood
floor installation, installing new doors and doing trim work, and many other landscaping
projects.

Mikhail was always on time and worked hard to be a part of our team.

He worked well with communicating when necessary, with our clients.

As a result he and my son were trusted by our clients to be alone in there homes.

Mikhail is ambitious and sensitive. We have stayed in contact with him and his family for many
years , since 2015 and from time to time have worked together on other projects.

This young man has the character you would want to see in all people.

Mikhail was interested in politics, which we should hope all Americans would be. I was
surprised to hear he was at the January 6th event.

I would hate to see him spend time away from his family and friends.

At the end of the day, he is a good person, who loves his wife, children, family, and loves his
country.

Sincerely:

Tim Schevers

2605 Aspen Meadow Road
Leander, Texas 78641
512-203-8178
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To Honorable James E. Boasberg,

My name is Annelise Tom, | have a Bachelors of Science in Leadership and
Organizational Studies. | am a Youth and Family Coordinator for the Standish
Recreation Department. | am writing on behalf of Mikhail Slye. | have known Mr. Slye
my entire life as he is my cousin, from childhood to adulthood. Something that has
always been constant is he is caring, thoughtful, kind and a fantastic listener. Mikhail
cares about the people around him, and anyone who comes in contact with him would
agree with my statement. Mikhail has a very strong relationship with his family, | saw
him be such a caring, thoughtful older brother to his little sister growing up and now

Mikhail is such a loving father to his three sons.

| know that Mikhail has been charged with an offense. | think this process has given him
time to think and consider his choices. However, if you decide to put Mikhail in jail | think
it will be a disservice to his family, his friends, and his whole community. | believe
Mikhail will be a positive member of society moving forward. | know in my life he has

been caring and positive. Someone who listens to others and considers them first.

Annelise Tom
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Garrett Smith
1109 Snow Goose
Leander, Tx 78641

January 28, 2023

To The Honorable Judge James E. Boasberg,

My name is Garrett Smith and | am a United States Army Veteran, and now work
as a semiconductor technician. | am writing on behalf of Mr. Mikhail Slye. In the
last year | have gotten the privilege to get to know Mr Slye and his family very
well. When | heard about what he was convicted of | was very shocked and
surprised. He had always been very kind and generous to everyone I've seen
him come in contact with. In that time he has only shown how great of a
husband, father, and friend he is. There is no question on if he made poor
choices on the day of January 6, because he did. But | also do not believe his
kids and wife should be punished for the mistake that he made being caught up
in the moment. | do believe he should be punished for his actions but please
consider something that wouldn't end up causing generational trauma, because |
am one of those many children across America who grew up watching my parent
get arrested and leave them at a young age. Those types of memories will never

fade. Thank you for your time.

Sincerely,
Garrett Smith
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Jan 28, 2023
Your Honor,

My name is Peggy McKain, | am Mikhail's aunt. | have known Mikhail since he was about 5 years
old when his mom started dating my brother. They lived in Texas, | have always been in PA, but
| visited quite often.

Mikhail has always been a very kind and respectful young man. He spent a week with my
husband and | one summer and | like to think that helped him decide to move here later in life
to start his farm. He has loved building his farm life here in PA.

He is a good and very hands on father to his 3 boys. He works extremely hard to maintain
his farm, they have many animals. They live a very quiet and good life here. The boys are doing
really well in school.

| have not asked many questions about Mikhail's actions on Jan 6th. He is not some radical
that talks about politics when | spend time with him, he is a very private person and has never
spoke about his beliefs to me before. | guess | just wanted to say he is not some extremist
criticizing our government or causing any problems in our small community. | own a beauty
salon and barber shop. Although these businesses are known as "gossip" places, | have never
heard anyone speak about a local man being involved in the Jan 6th riots when the articles
came out in our local newspapers.

Mikhail has a quiet life here and is building a wonderful, productive farm at their home. |
realize he needs to be punished for his actions on that day, but please know that one day does
not define the young man that | know and love.

Thank you for your time,
Peggy McKain
9800 Williamson Rd
Meadville, PA 16335
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Christina Slye
23635 Sawmill Road
Meadville, PA 16335

January 26,2023
To: The Honorable Judge James E. Boasberg,

Your honor, my name is Christina Slye. I am Mikhail Slye’s wife, and I work on our family farm
alongside Mikhail. We have known each other since high school and have three children together.

All my sons look up to their father with admiration and respect. It is a pleasure to witness the bond
between them, and I am thankful for the strong relationship they have. Mikhail is an incredibly
loving and devoted husband and father to our children and his presence in their lives is invaluable.
My husband and I recently made the decision to move across the country in order to start a farm
and provide our children with a more peaceful lifestyle. Mikhail and I felt that this was the best way
to ensure that the boys had a safe and secure environment to grow up in, in today’s world. Every
day he shows them that hard work and dedication pay off in life. No matter the weather, he is
outside taking care of over 100 animals. I am thankful for his help as he is a vital part of the daily
routines with the farm and our main and only source of income. Without him, we would have to
contemplate selling our farm and relocating, as it would be too much work for me to handle alone
alongside raising three boys alone.

Mikhail made a decision that was not the right one in a moment of poor judgement. Please
understand that this is not how he typically behaves, and I am confident that he will not repeat this
mistake. Nonetheless, I believe that one moment in life should not be taken as an indicator of the
kind of person he is, and I’m hoping that you will see the same thing when making your decision.

Thank you for your time and consideration in this matter.

Respectfully,
Christina Slye
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Reference letter for Mr. Mikhail Slye

Dear Mr. Honorable James E. Boasberg,

| hope this letter finds you well. My name is Jason Dawson Jordan, | am a technician for Evets Global CO.
Mr. Mikhail Slye and | have not know each other for an extended amount of time but the past 10 month

have been enjoyable with the time | have got to spend with Mikhail.

In July, | had the pleasure of going on a vacation with Mikhail, being the first time that | have truly sat
down and got to talk with him about life and many other topics, Mikhail welcomed me with arms wide
open. Getting to spend that time with him and his family demonstrated how great of a husband and

even better of a father he is.

| recently visited him at his residence and learned the “farm life”. While | was there, | saw the passion he
had for the farm. Mikhail always displayed a high degree of integrity, responsibility, and ambition for
any task at hand. Mikhail would go through thick and thin to provide the well-deserved life for his

family.

With this said, | believe Mikhail has learned his lesson through all of this. His family as well as his kids

would be devastated to see this come to an unfortunate outcome for Mikhail.

Feel free to contact me with any other questions or concerns.

Thank You,

Jason Dawson Jordan

1109 Snow Goose

Leander, TX 78641
Dawsonjordan27@gmail.com

512-987-9318
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Craig W. Sanquist
259 S. Shasta St.
Orange, CA 92869
January 25, 2023

Honorable James E. Boasberg
District Judge

U.S. District Court

333 Constitution Ave.

N.W., Washington D.C. 20001

Dear Honorable James E. Boasberg:

My name is Craig Sanquist | am a 63-year-old male and have been a sales rep. in the packaging
industry for most of my adult life. Mikhail Slye is my great nephew and | can confirm without doubt
that he is a man of great integrity and a strong moral compass.

Additionally, while in my presence Mikhail has always been enthusiastic, humble, kind, and honest
and possesses compassion for others.

| am completely confident without any reservations with Mikhail’s ethics and standards in society.
His actions on the day in question were not consistent of his values and morals. | believe, Mikhail
was present at the time because he was curious and believing he was witnessing history and just
got caught up in the action. | do not believe he went there with the intent to cause malice, or an

unlawful act of any kind.
Sincerely,

Craig W. Sanquist
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January 24, 2023 Patricia Fryer
704 Pecan Pass
Cedar Park, TX 78613

Honorable James E Boasberg,

My name is Patricia Fryer and | am writing on behalf of Mikhail Slye, who is my niece’s
husband. | am retired and living in Cedar Park, TX, just outside of Austin. | met Mikhail when
he was around 23 while he was dating my niece, Christina.

Mikhail has always been kind and respectful to me in all the years | have known him. He loves
God, his country and his family with all his heart. | have watched him mature and become
more responsible through the years, working hard and providing for his family. | know that he
has been charged with some violations of the law in Washington, DC, but, | personally have
never known him to be violent or have a provocative nature. He has always been mild-
mannered and soft spoken around me and our family. | do not doubt that he has learned
valuable life lessons from his unfortunate experience in Washington, DC, and that he will strive
more than ever to be a responsible patriot, husband and father

Honorable Boasberg, | pray the courts will have mercy and extend grace to Mikhail.

Thank you,
Patricia Fryer
